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 3
                           UNITED STATES DISTRICT COURT
 4
                          WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 5

 6      DAVID ENGELSTEIN,
 7                          Plaintiff,

 8            v.                                     C20-916 TSZ

 9      UNITED STATES DEPARTMENT                    MINUTE ORDER
        OF AGRICULTURE, et al.,
10
                           Defendants.
11
        DAVID ENGELSTEIN,
12
                            Plaintiff,
13
              v.
14
        THE STATE OF WASHINGTON, et
15      al.,
16                          Defendants.

17
          The following Minute Order is made by direction of the Court, the Honorable
18
     Thomas S. Zilly, United States District Judge:
19       (1)  The parties’ Joint Stipulation Extending Deadlines, docket no. 70, is
     GRANTED. The Court issues the following amended schedule:
20
            JURY TRIAL set for                9:00 AM on         January 23, 2023
21
            Amended Pleadings due by                             December 31, 2021
22

23

     MINUTE ORDER - 1
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 1             Expert Witness Disclosure/Reports under                     July 11, 2022
               FRCP 26(a)(2) due by
 2
               Motions related to discovery due by                         August 25, 2022
 3
               Discovery completed by                                      September 1, 2022
 4
               Dispositive Motions due by                                  October 15, 2022
                and noted on the motions calendar no later
 5
                than the fourth Friday thereafter (see LCR 7(d))
 6             Motions related to expert witnesses                         November 17, 2022
               (e.g., Daubert motion) due by
 7              and noted on the motions calendar no later
                than the third Friday thereafter (see LCR 7(d))
 8
               Motions in Limine due by                                    December 22, 2022
 9              and noted on the motions calendar no later
                than the Friday before the Pretrial Conference
10              (see LCR 7(d)(4))

11             Pretrial Order due 1 by                                     January 6, 2023

12             Trial Briefs to be submitted by                             January 6, 2023

               Proposed Voir Dire/Jury Instructions due by                 January 6, 2023
13
               Pretrial Conference set for            1:30 PM on           January 13, 2023
14

15
          Notwithstanding Local Civil Rule 16.1, the exhibit list shall be prepared in table
16 format with the following columns: “Exhibit Number,” “Description,” “Admissibility
   Stipulated,” “Authenticity Stipulated/Admissibility Disputed,” “Authenticity Disputed,”
17 and “Admitted.” The latter column is for the Clerk’s convenience and shall remain
   blank, but the parties shall indicate the status of an exhibit’s authenticity and
18 admissibility by placing an “X” in the appropriate column. Duplicate documents shall
   not be listed twice: once a party has identified an exhibit in the pretrial order, any party
19 may use it.

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     1
         The Agreed Pretrial Order shall be filed in CM/ECF and shall also be attached as a Word
22 compatible file to an e-mail sent to the following address: ZillyOrders@wawd.uscourts.gov.

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 1           The original and one copy of the trial exhibits are to be delivered to the courtroom
     at a time coordinated with Gail Glass, who can be reached at 206-370-8522, no later than
 2   the Friday before trial. Each set of exhibits shall be submitted in a three-ring binder with
     appropriately numbered tabs. Each exhibit shall be clearly marked. Plaintiff’s exhibits
 3   shall be numbered consecutively beginning with 1; defendant’s exhibits shall be
     numbered consecutively beginning with the next multiple of 100 after plaintiff’s last
 4   exhibit; any other party’s exhibits shall be numbered consecutively beginning with the
     next multiple of 100 after defendant’s last exhibit. For example, if plaintiff’s last exhibit
 5   is numbered 159, then defendant’s exhibits shall begin with the number 200; if
     defendant’s last exhibit number is 321, then any other party’s exhibits shall begin with
 6   the number 400.

 7        All other terms and conditions, and all dates and deadlines not inconsistent
   herewith, contained in the Minute Order Setting Trial Date and Related Dates, docket
 8 no. 22, shall remain in full force and effect.

 9          (2)    The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
10
            Dated this 1st day of October, 202 1.
11

12
                                                       Ravi Subramanian
                                                       Clerk
13
                                                       s/Gail Glass
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                                                       Deputy Clerk
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